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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLORADO

Civil Action No.: 20-cv-01936-STV

TIMOTHY JAMES COATES, GENE CLAPS, MARK MITCHELL, and KEVIN CURRIER

       Plaintiffs,

       v.

THE ADAMS COUNTY SHERIFF’S OFFICE, a governmental entity;
RICHARD A. REIGENBORN, in his official and individual capacity

       Defendants.


                                Notice of Supplemental Authority


       Plaintiff respectfully submits as supplemental authority relevant to the parties’ pending

motions pursuant to Fed. R. Civ. P. 56 the case Strickland v. United States et al., No. 21-1346

(4th Cir. Apr. 26, 2022), attached herein as Exhibit A. In this case, a panel of circuit court

judges, including Judge Briscoe of the Tenth Circuit, held that a public employer’s non-

discrimination policies and procedures can provide independent grounds for a protected property

interest to support a constitutional due process claim. See id. at 60-69. The panel focused

particular attention on the fact that the employer’s non-discrimination policies and procedures

provided the employees both substantive and procedural rights. See id. at 63-65. Thus, this case

supports Plaintiffs’ position that Defendant Adams County Sheriff’s Office’s own non-

discrimination policies and procedures afforded Plaintiffs both substantive and procedural rights

sufficient to create a protected property interest.
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                                  Respectfully Submitted,

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